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                        THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC,

               Plaintiff,
                                                     CIVIL ACTION NO. 1:19-cv-1606-RGA
       v.
                                                     JURY TRIAL DEMANDED
ARLO TECHNOLOGIES, INC.,

               Defendant.


            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Plaintiff Rothschild Broadcast Distribution Systems, LLC hereby files this Notice of

 Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

 without order of court by filing a notice of dismissal at any time before service by the adverse

 party of an answer. Accordingly, Rothschild Broadcast Distribution Systems, LLC hereby

 voluntarily dismisses this action against Arlo Technologies, Inc., without prejudice, pursuant

 to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.



Dated: November 14, 2019                     Respectfully submitted,

                                             /s/ Stamatios Stamoulis .
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